    Case: 3:99-cr-00006-RAM-RM Document #: 350 Filed: 10/02/20 Page 1 of 1



                          DISTRICT COURT OF THE VIRGIN ISLANDS
                           DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES,                              )
                                            )
                     Plaintiff,             )
                                            )
                     v.                     )      Case No. 3:99-cr-0006
                                            )
IRVINE HODGE,                               )
                                            )
                     Defendant.             )
                                            )


                                         ORDER
       BEFORE THE COURT is the renewed motion of Irvine Hodge for compassionate
release, filed on August 11, 2020. ECF No. 347. For the reasons outlined in the Memorandum
Opinion of even date, it is hereby
       ORDERED that Irvine Hodge’s motion for compassionate release, ECF No. 347, is
DENIED.



Dated: October 2, 2020                          s/ Robert A. Molloy
                                                ROBERT A. MOLLOY
                                                District Judge
